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 9
                      UNITED STATES DISTRICT COURT
10                   CENTRAL DISTRICT OF CALIFORNIA
                            EASTERN DIVISION
11

12                                         Case No.: 5:20-cv-2226
                                           COMPLAINT AND DEMAND FOR
13
     ANTOVAN YOUKHANA,                     JURY TRIAL FOR:
14
                Plaintiff,                      1. VIOLATIONS OF THE FAIR
15
          vs.                                      DEBT COLLECTION
16                                                 PRACTICES ACT [15 U.S.C.
     CLEARPATH FEDERAL CREDIT                      § 1692, ET. SEQ.]
17
     UNION, FIRST COLLECTION                    2. VIOLATIONS OF THE
18   SERVICES; EQUIFAX                             ROSENTHAL FAIR DEBT
     INFORMATION SERVICES, LLC                     COLLECTIONS
19
                                                   PRACTICES ACT [CAL.
20              Defendants.                        CIV. CODE § 1788, ET.
                                                   SEQ.];
21
                                                3. VIOLATIONS OF THE FAIR
22                                                 CREDIT REPORTING ACT
                                                   [15 U.S.C. § 1681, ET. SEQ.]
23
                                                4. VIOLATIONS OF THE
24                                                 CALFORNIA CONSUMER
25
                                                   CREDIT REPORTING
                                                   AGENCIES ACT [CAL. CIV.
26                                                 CODE § 1785, ET. SEQ.]
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 1                                   INTRODUCTION
 2         1.     ANTOVAN YOUKHANA (Plaintiff) brings this action to secure
 3   redress from Defendants Clearpath Federal Credit Union (hereinafter “Clearpath”)
 4   and First Collection Services (hereinafter “First Collection Services”) and Equifax
 5   Information Services, LLC for violations of the Fair Debt Collection Practices Act
 6   (“FDCPA”), the Rosenthal Fair Debt Collection Practices Act (“RFDCPA”)., the
 7   Fair Credit Reporting Act (“FCRA”), and the California Consumer Credit
 8   Reporting Agencies Act (“CCRAA”).
 9                               JURISDICTION AND VENUE
10         2.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 as
11   Plaintiff’s claims arise under the laws of the United States.
12         3.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)
13   because the acts and transactions alleged in this Complaint occurred here, Plaintiff
14   resides here, and Defendant transacts business here.
15                                        PARTIES
16         4.     Plaintiff is an individual, residing in Menifee, CA. Plaintiff is a
17   natural person from whom a debt collector seeks to collect a consumer debt which
18   is due and owing or alleged to be due and owing.
19         5.      Defendant Clearpath Federal Credit Union is a business entity with
20   its headquarters located in Glendale, CA. Defendant is engaged in the collection
21   of debts from consumers using the mail and telephone. Defendant regularly
22   attempts to collect debts alleged to be due another and Defendant is a “debt
23   collector” as defined by the RFDCPA.
24         6.     Clearpath is engaged in the practice of furnishing consumer
25   information to consumer reporting agencies, and is therefore a “furnisher of
26   information” as contemplated by 15 U.S.C. § 1681s-2(a) & (b) and Cal. Civ. Code
27   § 1785.25(a). Clearpath is a “person” as defined by the FCRA, Section 1681a(b),
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 1   and Cal. Civ. Code § 1785.3(j).
 2            7.    Defendant,   Equifax    Information    Services,   LLC        (hereinafter
 3   “Equifax”), is a limited liability company with its principal place of business
 4   located at 1550 Peachtree St. NW Atlanta, Georgia, 30309. At all relevant times
 5   herein, Defendant, Equifax, was an entity which, for monetary fees, dues, or on a
 6   cooperative nonprofit basis, regularly engaged in whole or in part in the practice of
 7   assembling or evaluating consumer credit information or other consumer
 8   information for the purpose of furnishing consumer reports to third parties, and
 9   used some mean or facility of interstate commerce for the purpose of preparing or
10   furnishing consumer reports, and is therefore a “consumer reporting agency” as
11   defined by 15 U.S.C. § 1681a(f). Likewise, Equifax is a "consumer reporting
12   agency" within the meaning of the CCRAA, Cal. Civ. Code § 1785.3(d).
13            8.    Defendants acted through its agents, employees, officers, members,
14   directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
15   representatives and insurers.
16            9.    Plaintiff is informed and believes and on that basis alleges that
17   Defendants is responsible for the acts, occurrences and transactions as officers,
18   directors or managing agents of Defendants, or as their agents, servants, employees,
19   and that each of them are legally liable to Plaintiff, as set forth below.
20                               FACTUAL ALLEGATIONS
21            10.   Within one year prior to the filing of this action, Clearpath attempted
22   to collect money, property or their equivalent, due or owing or alleged to be due or
23   owing from Plaintiff by reason of a consumer credit transaction and/or "consumer
24   debt."
25            11.   Within the last two (2) years, Clearpath has furnished false and
26   inaccurate credit information to Equifax regarding the character, amount and legal
27   status of an alleged debt which Plaintiff does not owe.
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 1         12.     On or about April 30, 2018, Plaintiff filed for a no asset Chapter 7
 2   bankruptcy in the United States Bankruptcy Court for the Central District of
 3   California in Los Angeles. Plaintiff’s case was assigned Case Number 6:18-bk-
 4   13634 (the “Bankruptcy”).
 5         13.     The obligations (“Account”) to Clearpath, which was a consumer
 6   credit card account, were scheduled and included in the Bankruptcy.
 7         14.     Clearpath, a creditor, was thereafter served notice of the bankruptcy.
 8         15.     On or about August 13, 2018, Plaintiff received a successful
 9   bankruptcy discharge, and Clearpath thereafter received notice of the Bankruptcy
10   discharge.
11         16.     Clearpath did not file any successful proceedings to declare their Debt
12   “non-dischargeable” pursuant to 11 U.S.C. § 523 et seq.
13         17.     Clearpath also did not request or receive relief from the “automatic
14   stay” codified at 11 U.S.C. §362 et seq. while the Plaintiff’s Bankruptcy was
15   pending to pursue the Plaintiff for any of the underlying Debts in their pre-
16   bankruptcy form.
17         18.     Accordingly, the Debt to Clearpath was discharged through the
18   Bankruptcy.
19         19.     Thereafter, Clearpath has furnished inaccurate information to Equifax
20   regarding the Account in the form of reporting the Account as “charge-off”, with
21   an outstanding balance of $ 1,073.00, as opposed to “Discharged in Bankruptcy”
22   (or the equivalent). This is so even though Clearpath has updated its credit reporting
23   as recently as August 31, 2020.
24         20.     The derogatory information reported by Clearpath after the
25   Bankruptcy was discharged indicates to potential creditors that the Debt was
26   somehow not discharged in the Bankruptcy and Plaintiff was being actively
27

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 1   delinquent in respect to Clearpath’s Debt, which is inaccurate and materially
 2   misleading reporting.
 3         21.    Clearpath’s attempt to collect upon this alleged debt by reporting post-
 4   Bankruptcy derogatory information on Plaintiff’s Credit Reports was therefore
 5   inaccurate and prohibited by the Bankruptcy discharge.
 6         22.    Clearpath’s reporting of post-Bankruptcy derogatory information was
 7   also inaccurate because a default on an account included in a bankruptcy can occur
 8   no later than the bankruptcy filing date, at which point the accounts included in the
 9   Bankruptcy were no longer collectable due to the effect of the automatic stay and
10   ultimate discharge.
11         23.    Notwithstanding having received notice of Plaintiff’s bankruptcy
12   petition and bankruptcy discharge, Clearpath additionally assigned its alleged debt
13   to Defendant First Collection Services with the intent and purpose of having First
14   Collection Services attempt to collect the alleged Clearpath debt from Plaintiff, even
15   though when knew such debt was not legally owed.
16         24.    Thus, by reporting post-Bankruptcy derogatory information, Clearpath
17   effectively reported: (1) Plaintiff was being financially irresponsible by failing to
18   pay the debt after the Bankruptcy was discharged; and (2) that Plaintiff’s Debt was
19   more recently subject to collection than it really was, which is inaccurate and
20   misleading under the CCCRAA.
21         25.    Clearpath’s reporting of post-Bankruptcy derogatory information was
22   also inaccurate and materially misleading because Clearpath continued reporting
23   information based on Clearpath’s pre-bankruptcy contract terms with the Plaintiff,
24   which were no longer enforceable upon the filing of the Bankruptcy and ultimate
25   successful discharge, thereby rendering the reported information inaccurate and
26   materially misleading.
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 1         26.    For decades, courts have recognized that when a bankruptcy discharge
 2   is granted, the order relates back to the date of filing the petition and relieves the
 3   debtor from personal liability as of that date.
 4         27.    This is because when a debtor voluntarily files for bankruptcy, the
 5   petition constitutes an “order for relief” under the particular chapter the debtor
 6   wishes to proceed per Bankruptcy Code 11 U.S.C. § 301(a)-(b). 136. When a debtor
 7   such as Plaintiff files a chapter 7 petition, Section 727(b) of the Bankruptcy Code
 8   provides that the discharge, when entered, applies to “all debts that arose before the
 9   date of the order for relief.” In other words, the discharge relieves the debtor of
10   personal liability for all prepetition debts.
11         28.    Thus, in relation to the CCRAA, the discharge order rendered the
12   information reported by Clearpath following the bankruptcy discharge inaccurate
13   and patently misleading because the discharge order relieved Plaintiff from any
14   personal obligation to pay Clearpath as of the date of filing the Bankruptcy
15   petition—April 30, 2018.
16         29.    Moreover, the derogatory, delinquent information furnished by
17   Clearpath following the Bankruptcy Discharge was inaccurate and misleading
18   because end users, including potential creditors, may interpret the reported

19   information to mean that Plaintiff incurred new debt during the Bankruptcy or that
     Plaintiff reaffirmed the Debt with Clearpath notwithstanding the discharge.
20
           30.    However, Plaintiff did not incur new debt with Clearpath during the
21
     pendency of the Bankruptcy or reaffirm the Debt in the Bankruptcy.
22
           31.    As of the date of the filing of this complaint, Clearpath continues to
23
     furnish inaccurate information regarding an alleged debt on Plaintiff’s credit file.
24
           32.    Defendants have continued to report negative, inaccurate information
25
     and have failed to include accurate information regarding Plaintiff’s Clearpath
26
     account.
27

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 1         33.    Defendant Equifax has also failed include any notation, status update,
 2   or any other indication on any of Plaintiff’s tradelines that the Accounts listed
 3   therein were discharged in Plaintiff’s Bankruptcy.

 4         34.    As a direct and proximate result of Defendants’ conduct, Plaintiff has
     suffered great physical, emotional and mental pain and anguish, and Plaintiff will
 5
     continue to suffer the same for an indefinite time in the future, all to Plaintiff’s great
 6
     detriment and loss.
 7
           35.    As a direct and proximate result of Defendants’ conduct, Plaintiff has
 8
     suffered actual damages in the form of financial and dignitary harm arising from the
 9
     injury to credit rating and reputation, and Plaintiff will continue to suffer the same
10
     for an indefinite time in the future, all to Plaintiff’s great detriment and loss.
11
           36.    As a direct and proximate result of Defendants’ conduct, Plaintiff has
12   suffered a decreased credit score as a result of the negative entry appearing on
13   Plaintiff’s credit file, which has hindered and harmed her ability to obtain credit,
14   and diminished her existing and future creditworthiness.
15         37.    As a direct and proximate result of Defendants’ above-referenced
16   willful and/or negligent violations of the law, Plaintiff has suffered actual damages
17   including, but not limited to, reviewing credit reports, attorney’s fees, and such
18   further expenses in an amount to be determined at trial.

19                               FIRST CAUSE OF ACTION
         (Violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692)
20
                       (Against Defendant First Collection Services)
21
           38.    Plaintiff incorporates by reference all of the above paragraphs of this
22
     Complaint as though fully stated herein.
23
           39.    Defendant violated the FDCPA. Defendant’s violations include, but
24
     are not limited to, the following:
25
           (a)    Defendant violated 15 U.S.C. § 1692 by collecting or attempting to
26
     collect a consumer debt without complying with the provisions of Sections 1692b
27   to 1692j, inclusive, of . . . Title 15 of the United States Code (Fair Debt Collection
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 1   Practices Act), in the following ways:
 2                  (1)   Defendant violated 15 U.S.C. §1692d by engaging in any
 3   conduct the natural consequence of which is to harass, oppress, or abuse any person

 4   in connection with the collection of a debt;
                    (2)   Defendant violated §1692e(2)(a) of the FDCPA by misstating
 5
     the character, amount and legal status of the debt;
 6
                    (3)   Defendant violated 15 U.S.C. §1692e(10) by utilizing false
 7
     representations or deceptive means to collect or attempt to collect any debt;
 8
                    (4)   Defendant    violated   15    U.S.C.   §1692f(1)   by   utilizing
 9
     unconscionable means to collect or attempt to collect any debt.
10
              40.   Defendant’s acts, as described above, were done intentionally with the
11
     purpose of coercing Plaintiff to pay the alleged debt.
12            41.   As a result of the foregoing violations of the FDCPA, Defendant is
13   liable to Plaintiff for actual damages, statutory damages, and attorney’s fees and
14   costs.
15                             SECOND CAUSE OF ACTION
16     (Violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ.
17                                        Code § 1788)
18                              (Against Defendant Clearpath)

19            42.   Plaintiff incorporates by reference all of the above paragraphs of this
     Complaint as though fully stated herein.
20
              43.   Defendant violated the RFDCPA. Defendant’s violations include, but
21
     are not limited to, the following:
22
              (a)   Defendant violated CAL. CIV. CODE § 1788.17 by collecting or
23
     attempting to collect a consumer debt without complying with the provisions of
24
     Sections 1692b to 1692j, inclusive, of . . . Title 15 of the United States Code (Fair
25
     Debt Collection Practices Act), in the following ways:
26
                    (1)   Defendant violated 15 U.S.C. §1692d by engaging in any
27   conduct the natural consequence of which is to harass, oppress, or abuse any person
28


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 1   in connection with the collection of a debt;
 2                  (2)   Defendant violated §1692e(2)(a) of the FDCPA by misstating
 3   the character, amount and legal status of the debt;

 4                  (3)   Defendant violated 15 U.S.C. §1692e(10) by utilizing false
     representations or deceptive means to collect or attempt to collect any debt;
 5
                    (4)   Defendant     violated   15   U.S.C.   §1692f(1)   by   utilizing
 6
     unconscionable means to collect or attempt to collect any debt.
 7
              44.   Defendant’s acts, as described above, were done intentionally with the
 8
     purpose of coercing Plaintiff to pay the alleged debt.
 9
              45.   As a result of the foregoing violations of the RFDCPA, Defendant is
10
     liable to Plaintiff for actual damages, statutory damages, and attorney’s fees and
11
     costs.
12                            THIRD CAUSE OF ACTION
13     Violations of the California Consumer Credit Reporting Agencies Act,
14                              Cal. Civ. Code §1785.25(a)
15                            (Against Defendant Clearpath)
16            46.   Plaintiff incorporates the foregoing paragraphs as though the same
17   were set forth at length herein.
18            47.   California Civil Code § 1785.25(a) states that a "person shall not

19   furnish information on a specific transaction or experience to any consumer
     credit reporting agency if the person knows or should know the information is
20
     incomplete or inaccurate.”
21
              48.   California Civil Code § 1785.25(b) states that a furnisher that
22
     determines a report to a credit reporting agency is not accurate or complete shall
23
     promptly notify the consumer reporting agency of that determination and
24
     provide corrections to the consumer reporting agency that is necessary to make
25
     the information complete and accurate.
26
              49.   California Civil Code § 1785.25(c) provides that if the
27   completeness or accuracy of any information on a specific transaction or
28


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 1   experience provided to a consumer reporting agency is disputed by the
 2   consumer, the furnisher may not continue reporting the information unless it
 3   provides a notice to the consumer reporting agency that the information is

 4   disputed by the consumer.
           50.    Defendant negligently and willfully furnished information to the
 5
     credit reporting agencies it knew or should have known was inaccurate.
 6
           51.    Based on these violations of Civil Code § 1785.25(a), Plaintiff is
 7
     entitled to the remedies afforded by Civil Code § 1785.31, including actual
 8
     damages, attorney's fees, pain and suffering, injunctive relief, and punitive
 9
     damages in an amount not less than $100 nor more than $5,000, for each
10
     violation as the Court deems proper.
11
           52.     As a result of the foregoing violations of the FDCPA, Defendant is
12   liable to Plaintiff for actual damages, statutory damages, and attorney’s fees and
13   costs, and, such other and further relief as the Court deems proper.
14                                FOURTH CAUSE OF ACTION
15      Willful Failure to Employ Reasonable Procedures To Ensure Maximum
16    Accuracy of Credit Reports in Violation of 15 U.S.C. § 1681e(b) and Cal. Civ.
17                                      Code § 1785.14(b)
18                               (Against Defendant Equifax)

19         53.    Plaintiff incorporates the foregoing paragraphs as though the same
     were set forth at length herein.
20
           54.    Defendant Equifax is regularly engaged in the practice of assembling
21
     and evaluating consumer credit information for the purpose of preparing consumer
22
     reports, as that term is defined in 15 U.S.C. § 1681a(d) and Cal. Civ. Code §
23
     1785.3(c), commonly referred to as Credit Reports, and furnishing these Credit
24
     Reports to third parties.
25
           55.    Defendant Equifax uses means and facilities of interstate commerce
26
     for the purpose of preparing and furnishing Credit Reports and, hence, is a
27   "consumer reporting agency" within the meaning of 15 U.S.C. § 1681a(t).
28


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 1   Defendant Equifax is likewise a "consumer reporting agency" within the meaning
 2   of Cal. Civ. Code § 1785.3(d).
 3         56.       In preparing Credit Reports, Defendant Equifax has failed to use

 4   reasonable procedures to, as required by law, "assure maximum possible accuracy"
     of information relating to the discharged debts of Plaintiff, in violation of 15 U.S.C.
 5
     § 1681e(b) and Cal. Civ. Code § 1785.14(b).
 6
           57.       As a result of Defendant Equifax’s failure to use reasonable procedures
 7
     in accordance with the requirements of 15 U.S.C. § 1681e(b) and Cal. Civ. Code §
 8
     1785.14(b), Equifax is falsely reporting that Plaintiff opened accounts and incurred
 9
     debt that were in fact opened and incurred by the identity thief.
10
           58.       Defendant Equifax’s failure to comply with the requirements of 15
11
     U.S.C. § 1681e(b) and Cal. Civ. Code § 1785.14(b) is willful within the meaning of
12   15 U.S.C. § 1681n(a) and Cal. Civ. Code § 1785.31(a)(2), respectively.
13         59.       As a result of Defendant Equifax’s willful noncompliance with the
14   requirements of 15 U.S.C. § 1681e(b) and Cal. Civ. Code. § 1785.14(b), Plaintiff
15   is entitled to statutory and punitive damages under 15 U.S.C. § 1681n(a)(1) and
16   (a)(2) and punitive damages under Cal. Civ. Code §§ 1785.31(a)(1) and (a)(2),
17   respectively.
18         60.       As a further result of Defendant Equifax’s willful noncompliance with

19   the requirements of 15 U.S.C. § 1681e(b) and Cal. Civ. Code. § 1785.14(b), Plaintiff
     has suffered damage to her credit rating and other actual damages.
20
                                     FIFTH CAUSE OF ACTION
21
       Negligent Failure to Employ Reasonable Procedures To Ensure Maximum
22
      Accuracy of Credit Reports in Violation of 15 U.S.C. § 1681e(b) and Cal. Civ.
23
                                        Code § 1785.14(b)
24
                                  (Against Defendant Equifax)
25
           61.       Plaintiff incorporates the foregoing paragraphs as though the same
26
     were set forth at length herein.
27         62.       In preparing credit reports relating to Plaintiff, Defendant Equifax has
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 1   failed to follow reasonable procedures to assure maximum accuracy of information
 2   it puts in Credit Reports in violation of 15 U.S.C. § 1681e(b) and Cal. Civ. Code §
 3   1785.14(b).

 4            63.   As a result of   Defendant Equifax’s failure to follow reasonable
     procedures in accordance with the requirements of 15 U.S.C. § 1681e(b) and Cal.
 5
     Civ. Code § 1785.14(b), Defendant Equifax is falsely reporting that Plaintiff opened
 6
     accounts and incurred debt that were in fact opened and incurred by the identity
 7
     thief.
 8
              64.   Defendant Equifax’s failure to comply with the requirements of 15
 9
     U.S.C. § 1681 e(b) and Cal. Civ. Code § 1785.14(b) is negligent within the meaning
10
     of 15 U.S.C. § 1681o(a) and Cal. Civ. Code § 1785.31(a)(l), respectively.
11
              65.   As a result of Defendants’ negligent violations of the requirements of
12   15 U.S.C. § 1681e(b) and Cal. Civ. Code § 1785.14(b), Plaintiffs has suffered
13   damage to her credit rating and other actual damages.
14                               PRAYER FOR RELIEF
15            WHEREFORE, Plaintiff prays for judgment as follows:
16            66.   an award of actual damages, in an amount to be determined at trial,
17   pursuant to 15 U.S.C § 1681(n), Cal. Civ. Code § 1788.30(a), and Cal. Civ. Code §
18   1785.31(a)(2)(A);

19            67.   an award of statutory damages of $ 1,000.00 per willful violation of
     the FCRA, pursuant to 15 U.S.C § 1681(n) and 15 U.S.C. § 1681(o);
20
              68.   an award of statutory damages of $ 1,000.00 pursuant to Cal. Civ. Code
21
     § 1788.30(b);
22
              69.   an award of punitive damages under 15 U.S.C § 1681(n) and 1681(0);
23
              70.   an award of punitive damages of $ 100.00 - $ 5,000.00 per willful
24
     violation of Cal. Civ. Code § 1785.14;
25
              71.   an award of punitive damages of $ 100.00 - $ 5,000.00 per willful
26
     violation of Cal. Civ. Code § 1785.25(a);
27            72.   an award of attorneys’ fees and costs pursuant to 15 U.S.C § 1681(o),
28


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 1   Cal. Civ. Code § 1785.31(d), and Cal. Civ. Code § 1788.30(c).
 2         73.   Providing such further relief as may be just and proper.
 3                             DEMAND FOR JURY TRIAL

 4         Please take notice that Plaintiff’s demands a trial by jury in this action.

 5
                                             RESPECTFULLY SUBMITTED,
 6
     Dated: October 22, 2020                 MARTIN & BONTRAGER, APC
 7

 8
                                             By: /s/ G. Thomas Martin, III
 9
                                                    G. Thomas Martin, III
10                                                  Attorneys for Plaintiff

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